     Case 3:11-cv-00938-WHA Document 177 Filed 11/10/15 Page 1 of 7



 1   JOHN W. COTTON (SBN 54912)
     Email: JCotton@gghslaw.com
 2   GARTENBERG GELFAND HAYTON &
     SELDEN LLP
 3   220 Montgomery Street, 15th Floor
     San Francisco, CA 94104
 4   (415) 788-6230
 5   Receiver of Baystar Capital Management, LLC
     and Lawrence Goldfarb
 6

 7

 8                       UNITED STATES DISTRICT COURT
 9                      NORTHERN DISTRICT OF CALIFORNIA
10

11   SECURITIES AND EXCHANGE                     )   Case No.: C-11-0938 WHA
     COMMISSION,                                 )
12                                               )   FOURTH INTERIM REPORT
           Plaintiff,                            )   TO THE COURT
13                                               )
                   v.                            )   Date:     N/A
14                                               )   Time:     N/A
     LAWRENCE R. GOLDFARB and                    )   Judge:    William A. Alsup
15   BAYSTAR CAPITAL                             )
     MANAGEMENT, LLC,                            )
16                                               )
           Defendants.                           )
17                                               )
                                                 )
18                                               )
19

20         By this pleading, the Receiver in the above matter, John W. Cotton (“the
21   Receiver”), reports for the fourth time to the Court on the progress to date of

22   his administration of the Receivership estate (“the Estate”) of the defendants.
     The Receiver was appointed on June 26, 2012, pursuant to this Court’s order
23
     that charged him with administering the assets of the defendants Lawrence R.
24
     Goldfarb (“Goldfarb”) and his wholly owned company Baystar Capital
25
     Management LLC (“Baystar”) and related wholly owned corporations for the
26
     benefit of defrauded investors. The Receiver filed his first status report on
27
     October 10, 2012 for the first three (3) months of the Receivership, from July
28
                                             1
                            FOURTH INTERIM REPORT TO THE COURT
     Case 3:11-cv-00938-WHA Document 177 Filed 11/10/15 Page 2 of 7



 1   through September 2012. The Receiver’s second interim report covered the
 2   nine (9) months ending June 2013, one year after the Receiver’s appointment.
 3   This third interim report covered the Receiver’s activity from July 2013 to June
 4   2014. This fourth interim report will cover the Receiver’s activity from July
 5   2014 until October 2015.

 6
            A.     The Securing of Estate Assets
            As of the date of this report, all known assets of the Estate, with the two
 7
     exceptions noted directly below, have been secured and reduced to cash.
 8
     Previous reports to the Court have identified these assets in detail; together
 9
     their liquidation resulted in $ 6,696,390 in cash coming into the Estate bank
10
     account at California Bank & Trust (“CB&T”). The bulk of those assets,
11
     $5,500,000, were distributed to the investors in May 2014.
12
            1. LRG Capital
13
            As the Court is aware, in April of this year, after approval by the three
14
     largest investors holding 93% of equitable interest in the Estate, the Receiver
15   filed a motion to approve the sale of the illiquid investments of the Estate in the
16   small, private fund known as LRG Capital, back to its general partner, After
17   Court approval, this resulted in a final payment of $ 8,609 and the elimination
18   of LRG Capital’s illiquid partnership interest. This reduced the number of
19   illiquid investments to the two reported below. The current amount of the
20   remaining distributable assets in the estate at the time of filing this report is
21   $794,019.00.1
22          2. The Island Fund and Yacht Fund
23          The two remaining obstacles to a final liquidation of Estate assets are

24   those arising from the residual, passive investments of the defendant Baystar in

25
     1
       The SEC previously posted approximately $90,000 with the Court Registry in 2012, which
26
     was received from defendant Goldfarb towards his disgorgement obligation before the
27   Receiver was appointed. The SEC and the Receiver will shortly move the court by way of
     stipulation to have these funds returned to the Receiver for distribution to the defrauded
28   investors as part of their final distribution. They are not included in the above balance.
                                                      2
                              FOURTH INTERIM REPORT TO THE COURT
     Case 3:11-cv-00938-WHA Document 177 Filed 11/10/15 Page 3 of 7



 1   (a) any remaining future random cash distributions from the Island Fund; and
 2   (b) any remaining future potential equity value in the Yacht Fund.2 Both the
 3   Island Fund and Yacht Fund interests are private, limited partnership assets,
 4   themselves holding interests in a distressed corporate debt fund and the day-to-
 5   day operations of a global yacht docking and maintenance business,

 6
     respectively. Because of the privately-held nature of these two entities, and
     their continued day-to-day operation by managing general partners over which
 7
     the Receiver has no legal or practical control, without securing the agreement
 8
     and cooperation of these general partners, the Estate cannot liquidate these two
 9
     assets to present cash value for a timely distribution to investors. Moreover, as
10
     to the Yacht Fund which has never operated at an annual profit, and is only an
11
     equity position in a private corporation, any recovery of Baystar’s original
12
     investment could require many years of waiting, during which time the Estate
13
     would have to stay open, accrue fees for maintenance and possibly watch the
14
     investment wither.
15          In order to accomplish some resolution to the issue of liquidating these
16   two assets to present value, the Receiver turned to the two largest investors for
17   assistance. Since late 2014 and continuing to the present, and in full
18   consultation with these large investors (who together hold 83% of the
19   Receivership estate asset value), the Receiver has been holding sporadic
20   discussions with the managing general partners of both privately held funds.3
21   These discussions have been directed toward the possibility of selling the
22   Baystar Capital LLC interests back to the limited or general partners of each
23   fund for a discounted, current cash payment to the Estate.

24
     2
       Glasshouse Technologies, in which the Estate held stock warrants expiring in June of
25   2015, filed for bankruptcy protection before expiration, making those warrants worthless to
     the Estate.
26   3
       The two largest Baystar investors, SAC Capital and SDS Capital, are themselves hedge
27   funds with experienced senior management. A representative of each has been
     communicating with the Receiver on the issue of the valuation and possible liquidation of
28   the Island and Yacht Fund interests.
                                                   3
                              FOURTH INTERIM REPORT TO THE COURT
     Case 3:11-cv-00938-WHA Document 177 Filed 11/10/15 Page 4 of 7



 1          The chief obstacle in proceeding with any meaningful discussions
 2   concerning a sale of these interests has been establishing their true value in
 3   present dollar terms. The Island Fund, which contains the remainder of a
 4   portfolio of CMBS’s, or “collateralized mortgage bond” securities that were
 5   bundled and sold as separate investment securities by large Wall Street firms

 6
     (such as Morgan Stanley) to various sophisticated investors, now only contains
     a few of the most distressed of its original assets.4 Nonetheless, some of the
 7
     CMBS obligors continue to pay down, or refinance their debt, allowing
 8
     infrequent cash payments to the Island Fund limited partners.5 These payments
 9
     are sporadic, unpredictable and uneven in amount. It is therefor very difficult to
10
     “price” the current value of these old bonds. The Yacht Fund holds only one
11
     asset, 134,646 shares of Island Global Yachting IV Ltd (“IGY”). These shares
12
     were “estimated” by the Yacht Fund general partner in mid 2014 has having a
13
     possible value of between $2.20 and $2.80 per share. However, at the end of
14
     calendar 2014, IGY had a net loss of ($4,306,553). The general partner has
15   recently advised that the losses have continued in 2015. As a result it is
16   difficult to price the current value of this private equity, although it is likely it
17   will be less that the previous estimated values from 2014.
18          The Receiver, in order to avoid the likely large cost to the estate of
19   hiring an independent valuation firm, in late 2014 enlisted the support of
20   experienced SAC and SDS personnel to assist in valuing the remaining CMBS
21   positions and the IGY financials.6 The theory behind this request to these two
22   stakeholders is that (1) they routinely buy and sell illiquid investments and are
23

24   4
       According to both the Island Fund’s general partner and the trading desk of SAC Capital,
     there are so few transactions in these remaining distressed bonds that giving them a reliable
25   bid/ask spread is difficult.
     5
       Indeed, since the last financial report to the Court, the Island Fund has made an additional
26
     $199,190 in payments to the Receiver.
27
     6
       Both the Island Fund and Yacht Fund general managers have been helpful thus far in
     providing all financial information requested of them in order to make a valuation
28   determination.
                                                      4
                               FOURTH INTERIM REPORT TO THE COURT
     Case 3:11-cv-00938-WHA Document 177 Filed 11/10/15 Page 5 of 7



 1   as well-positioned as any independent valuation firm to mark the Island Fund
 2   securities with a market value, and evaluate the income statements of IGY; and
 3   (2) to the extent they, as the largest beneficiaries of any Estate recovery are
 4   satisfied with that recovery, then the Receiver and this Court can be assured
 5   that any valuation arrived at for any sale is fair and acceptable as to them.

 6
           Arranging for this effort, however, has taken much longer than the
     Receiver originally anticipated. The reasons for this are many, but in essence
 7
     they involve scheduling, conferences and coordination with numerous
 8
     personnel, including the general partners of both the Island Fund and Yacht
 9
     Fund, as well as the representatives of SAC and SDS Capital. Unfortunately,
10
     notwithstanding the Receiver’s persistent and continued efforts since mid 2014
11
     to get a consensus view from the two largest investors, much time has
12
     obviously passed in bringing the valuation efforts to fruition. This has not been
13
     due to any delay on the part of the Receiver, but rather the schedules of the two
14
     largest investors. Notwithstanding the long delays the past year, within the past
15   two weeks the Receiver has received approval from the two largest investors
16   for going forward with a buy out proposal that would be satisfactory for both.
17   Steps to accomplish this are now underway.
18         There is one unresolved legal issue with regard to the Yacht Fund if it is
19   found to hold realizable value, which is whether there are additional Baystar
20   Capital Management investors beyond those already identified by the Receiver
21   in the Island Fund side pocket, who may have some entitlement to any Yacht
22   Fund asset recovery. Documents provided to the Receiver from defendant
23   Goldfarb’s former business partner suggest that there may be as many as seven

24   (7) additional Baystar investors who along with the dozen previously identified
     Island Fund investors, also invested in the Yacht Fund side pocket. If that is
25
     correct, there is some question as to whether and how much those investors
26
     might be entitled to recover. The likely percentage amount of entitlement of
27
     these seven appears to be insignificant in relation to the overall investment in
28
                                              5
                            FOURTH INTERIM REPORT TO THE COURT
     Case 3:11-cv-00938-WHA Document 177 Filed 11/10/15 Page 6 of 7



 1   the Yacht Fund by the other Baystar investors who were also Island Fund
 2   investors, but nonetheless any entitlement to a distribution by them must be
 3   Investigated and resolved as part of the Receiver’s final work.
 4          B.      Current Financial Condition of the Receivership Estate
 5          The Estate currently holds $794,019 in cash at CB&T, and the Court

 6
     registry holds an additional $90,000. Other than unbilled time of the Receiver
     for work completed since February 4, 2015, which is approximately $10,000
 7
     and any amount that might be owed to any federal and/or local taxing
 8
     authorities, there are no other known liabilities. 7 Based on the collections
 9
     made by the Receiver, and the cost of operating the Estate for the past two
10
     years, the cost of the receivership to date has been less than 5% of the assets
11
     under his control.
12
            C.      Future Work for the Receiver
13
            The only significant, remaining work to be done by the Receiver
14
     concerns the disposition of the privately held assets referred to above. The
15   residual value in the ongoing future operation of the Island Fund and the Yacht
16   Fund needs to be established, and then if possible, negotiated with the approval
17   of the largest investors into a present value, sum certain which would then be
18   distributed. Since two of the three largest investors are informed and
19   experienced fund managers themselves, presumably their assistance, input and
20   approval in any negotiations with the general partners of the Island and Yacht
21   fund partnerships, will assure an acceptable and quick resolution. Once that is
22   accomplished, the Estate can be wound down and a final report submitted to
23   the Court. It is anticipated that such a resolution and a final report might be

24

25

26   7
       Based on the preliminary view of the Estate’s tax accountant, there will be no taxes due for
27   2015 as there is a significant tax loss carry-forward from the sale of the MREM real estate
     interest, along with the business expense payments to the creditors and the Receiver’s firm
28   for its work.
                                                      6
                               FOURTH INTERIM REPORT TO THE COURT
     Case 3:11-cv-00938-WHA Document 177 Filed 11/10/15 Page 7 of 7



 1   accomplished by the end of the first quarter of 2016, if not earlier, at which
 2   time the Estate can be closed with a final distribution to investors.
 3
     Dated: November 10, 2015                GARTENBERG GELFAND &
 4
                                             HAYTON LLP
 5

 6

 7                                                 /s/ John W. Cotton
                                             John W. Cotton, Receiver for
 8                                           Baystar Capital Management and
                                             Larry Goldfarb
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                              7
                            FOURTH INTERIM REPORT TO THE COURT
